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 1 LAW OFFICES OF CHRIS COSCA
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 4 Attorney for Defendant
   GREGORY BART MARTIN
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 6

 7                              IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-0375 TLN
11                                 Plaintiff,             STIPULATION AND ORDER
                                                          CONTINUING STATUS
12   v.                                                   CONFERENCE AND EXCLUDING
                                                          TIME UNDER SPEEDY TRIAL ACT
13   GREGORY BART MARTIN, et al.,
                                                          Date: May 21, 2015
14                                 Defendants.            Time: 9:30 a.m.
                                                          Court: Hon. Troy L. Nunley
15

16
                                                 STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendants, by
18

19 and through their counsel of record, hereby stipulate as follows:

20          1.       The Court previously continued this matter to May 21, 2015.

21          2.       By this stipulation, defendants now move to continue the status conference until June
22
     25, 2015 and to exclude time between May 21, 2015 and June 25, 2015 under Local Code T4.
23
     Plaintiff does not oppose this request.
24
            3.       The parties agree and stipulate, and request that the Court find the following:
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            a.       The government will be producing additional discovery in this matter including
26

27 numerous witness interviews and reports not previously disclosed.

28          b.     Counsel for defendants need additional time to review and copy discovery, to conduct
     Stip and Order Continuing Status Conference, Excluding Time
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     additional investigation, and to consult with their clients.
 1
            c.       Counsel for defendants believe that failure to grant the above-requested continuance
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 3 would deny them the reasonable time necessary for effective preparation, taking into account the

 4 exercise of due diligence.

 5          d.       The government does not object to the continuance.
 6
            e.       Based on the above-stated findings, the ends of justice served by continuing the case
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     as requested outweigh the interest of the public and the defendant in a trial within the original date
 8
     prescribed by the Speedy Trial Act.
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10          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

11 seq., within which trial must commence, the time period of May 21, 2015 to June 25, 2015 inclusive,

12 is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it

13 results from a continuance granted by the Court at defendant’s request on the basis of the Court's

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     finding that the ends of justice served by taking such action outweigh the best interest of the
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     public and the defendant in a speedy trial.
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            5.       Nothing in this stipulation and order shall preclude a finding that other provisions of
17

18 the Speedy Trial Act dictate that additional time periods are excludable from the period

19 within which a trial must commence.

20 IT IS SO STIPULATED.

21

22 DATED:            May 15, 2015           /s/ Chris Cosca for___________________
                                            JARED C. DOLAN
23                                          Assistant United States Attorney
24 DATED:            May 15, 2015           /s/ Chris Cosca for____________________
                                            TIMOTHY WARRINER
25                                          Counsel for Defendant Michael Ray Taylor, Jr.
26 DATED:            May 15, 2015           /s/ Chris Cosca for      _____________
                                            MICHAEL CHASTAINE
27                                          Counsel for Defendant Andre Antonio Walters
28
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     DATED:        May 15, 2015         /s/ Chris Cosca _______________________
 1                                      CHRIS COSCA
                                        Counsel for Defendant Gregory Bart Martin
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 4
                                               ORDER
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 6          IT IS SO FOUND AND ORDERED this 15th day of May, 2015.
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                                                        Troy L. Nunley
11                                                      United States District Judge

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     Stip and Order Continuing Status Conference, Excluding Time
